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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           § MAGISTRATE ACTION NO. 2:13-MJ-1509-6
                                              §
JAMES LEE BICKERSTAFF                         §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL


         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is a serious risk that the defendant will not appear; and

         (2)   There is a serious risk that the defendant will endanger the safety of another

person or the community.

         The evidence against the defendant meets the probable cause standard. The Court

is primarily concerned with the defendant’s lack of stability, recent homelessness, and

criminal history, including multiple revocations of supervision. The findings and

conclusions contained in the Pretrial Services Report are adopted.

         The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

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attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 17th day of December, 2013.


                                             ___________________________________
                                                          Jason B. Libby
                                                   United States Magistrate Judge




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